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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


BUC-EE'S LTD.,

                    Plaintiff,                                 8:17CV287

       vs.
                                                         ORDER CONFIRMING
BUCKS, INC., and STEVEN BUCHANAN,                       ARBITRATION AWARD
                                                        AND FINAL JUDGMENT
                    Defendants.


      This matter is before the Court on the uncontested Motion for Judgment in

Accordance with Binding Arbitration, ECF No. 185, filed by Defendants Bucks, Inc., and

Steven Buchanan. The Motion requests judgment in the amount of $400,000. Pursuant

to 9 U.S.C. § 9 the Court finds that the Motion should be granted and judgment entered

accordingly. Therefore,

      IT IS ORDERED:

      1.     The Order of Arbitration, ECF No. 186-2, is confirmed; and

      2.     Judgment is entered in favor of Buck’s, Inc., and Steven Buchanan, jointly,
             and against Buc-ee’s LTD., in the amount of $400,000.




      Dated this 8th day of November, 2018.


                                               BY THE COURT:

                                               s/Laurie Smith Camp
                                               United States District Judge
